    23-10063-shl      Doc 327-1        Filed 05/19/23 Entered 05/19/23 15:16:31                     Proposed
                                             Order Pg 1 of 1



                         THE UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF NEW YORK


                                                     )                 Case No. 23-10063 (SHL)
In re:                                               )
                                                     )                 Chapter 11
Genesis Global Holdco, LLC, et al. 1,                )                 (Jointly Administered)
                                                     )
                                                     )
                          Debtors.                   )
                                                     )


                ORDER GRANTING MOTION TO PRACTICE, PRO HAC VICE
         Upon the motion of William M. Uptegrove, to be admitted, pro hac vice, to represent the

U.S. Securities and Exchange Commission (the “SEC”), a creditor in the above referenced case,

and upon the movant’s certification that the movant is a member in good standing of the bars in

the State of New York and the State of New Jersey, and the bars of the U.S. District Court for the

District of New Jersey, the U.S. Court of Appeals for the Third Circuit, and the Supreme Court

of the United States, it is hereby

         ORDERED that William M. Uptegrove is admitted to practice, pro hac vice, in the

above referenced case to represent the SEC, in the United States Bankruptcy Court for the

Southern District of New York. The filing fee is hereby waived.


    Dated:                      __
             White Plains, New York

                                                         THE HONORABLE SEAN H. LANE
                                                         UNITED STATES BANKRUPTCY JUDGE




1
 The Debtors in these Chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are
as follows: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564); and Genesis Asia Pacific Pte.
Ltd. (2164R). For the purpose of these Chapter 11 cases, the service address for the Debtors is 250 Park Avenue
South, 5th Floor, New York, NY 10003.
